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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA
________________________________________________________________

UNITED STATES OF AMERICA,

                    Plaintiff,


v.                                       AMENDED ORDER
                                         Criminal File No. 05-282 (MJD/JJG)


(1) CHRISTOPHER WILLIAM SMITH,

               Defendant.
________________________________________________________________

        IT IS HEREBY ORDERED that:

        Defendant Christopher William Smith shall remain at Minnesota
        Correctional Facility-Oak Park Heights or at the Hennepin County Adult
        Detention Center and be subject to the following conditions:

        1.    Defendant Smith shall be held in a self-contained cell within the
              administrative control unit (“ACU”) in order to restrict interaction
              with other prisoners.

        2.    Defendant Smith is permitted to meet in person with all licensed
              attorneys employed by Joseph S. Friedberg, Chartered, including
              Joseph Friedberg, Lisa Lodin Peralta, and Casey Oppenheim, and
              with William Michael, Jr., of Lindquist & Vennum. Defendant Smith
              shall have no other visitation privileges.

        3.    Defendant Smith shall only be permitted to make telephone calls to
              his attorney, Joseph Friedberg. No other telephone privileges are
              permitted.

        4.    Defendant Smith shall only send outgoing mail to his attorney,
              Joseph Friedberg, at the following address: Joseph S. Friedberg,
              Chartered; 150 South 5th Street; Suite 320; Minneapolis, Minnesota
    CASE
  Case    0:05-cr-00282-MJD-JJGDocument
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            55402. Defendant Smith shall have no other outgoing mail
            privileges.

      5.    Defendant Smith shall only receive mail from his attorney, Joseph
            Friedberg, his mother, Candace Meili, his father, Scott Smith, his
            stepfather, Fritz Meili, his wife, Anita Smith, and his child, MS.
            The mail from Christopher Smith’s family will be screened by
            the Government prior to being given to Christopher Smith.




Dated: October 19, 2006                      s / Michael J. Davis
                                             Judge Michael J. Davis
                                             United States District Court
